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    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                             No. 13-421V
                                      Filed: November 27, 2018
                                         Not to be Published

*************************************
G.G.M., a Minor, by and Through her            *
Guardian Ad Litem, LORENA MORA,                *
                                               *
               Petitioner,                     *
                                               *                   Damages decision based on
 v.                                            *                   stipulation; influenza (“flu”)
                                               *                   vaccine; transverse myelitis
SECRETARY OF HEALTH                            *
AND HUMAN SERVICES,                            *
                                               *
               Respondent.                     *
                                               *
*************************************
Danielle A. Strait, Seattle, WA, for petitioner.
Claudia B. Gangi, Washington, DC, for respondent.

MILLMAN, Special Master

                               DECISION AWARDING DAMAGES1

         On November 27, 2018, the parties filed the attached stipulation in which they agreed to
settle this case and described the settlement terms. Petitioner alleges, on behalf of her daughter,
that G.G.M. suffered from transverse myelitis and related sequelae as a result of her receipt of the
influenza (“flu”) vaccine on or about September 5, 2012. She further alleges that G.G.M.
experienced the residual effects of this injury for more than six months. Respondent denies that
the flu vaccine caused petitioner to suffer transverse myelitis or any other injury. Nonetheless,
the parties agreed to resolve this matter informally.

1
  Because this unpublished decision contains a reasoned explanation for the special master’s action in this
case, the special master intends to post this unpublished decision on the United States Court of Federal
Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899,
2913 (Dec. 17, 2002). This means the decision will be available to anyone with access to the Internet.
Vaccine Rule 18(b) states that all decisions of the special masters will be made available to the public unless
they contain trade secrets or commercial or financial information that is privileged and confidential, or
medical or similar information whose disclosure would constitute a clearly unwarranted invasion of
privacy. When such a decision is filed, petitioner has 14 days to identify and move to delete such
information prior to the document’s disclosure. If the special master, upon review, agrees that the
identified material fits within the banned categories listed above, the special master shall delete such
material from public access.
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        The undersigned finds the terms of the stipulation to be reasonable. The court hereby
adopts the parties’ said stipulation, attached hereto, and awards compensation in the amount and
on the terms set for therein. Pursuant to the stipulation, the court awards:

    a. an amount sufficient to purchase the annuity contract described in paragraphs 10(a)
       through 10(h) of the stipulation attached;

    b. a lump sum of $825,168.00, in the form of a check payable to petitioner as
       guardian/conservator of the estate of G.G.M. for the benefit of G.G.M, representing
       compensation for future life care plan expenses for the first year following the entry of
       judgment ($148,527.00), pain and suffering ($250,000.00), and lost future earnings
       ($426,641.00); and

    c. a lump sum of $14,135.00 in the form of a check payable to petitioner.

       These amounts represent compensation for all damages that would be available under 42
U.S.C. § 300aa-15(a).

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of the
court is directed to enter judgment herewith.2

IT IS SO ORDERED.


Dated: November 27, 2018                                                 /s/ Laura D. Millman
                                                                            Laura D. Millman
                                                                             Special Master




2
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
                                                    2
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